Case 2:23-cv-04853-CAS-AFM Document 22 Filed 11/20/23 Page 1 of 4 Page ID #:66



  1   SULAIMAN LAW GROUP, LTD.
  2   Alexander J. Taylor ( State Bar No. 332334)
      2500 South Highland Avenue, Suite 200
  3   Lombard, IL 60148
  4   Phone: (331) 307-7646
      Facsimile: (630) 575-8188
  5   Email: ataylor@sulaimanlaw.com
  6   Attorney for Plaintiff
  7
                          UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
  9                            WESTERN DIVISION
 10

 11                                            Case No. 2:23-cv-04853-CAS-AFM
       AREC D. SIMERI,
 12
                       Plaintiff,              NOTICE OF MOTION AND
 13                                            UNOPPOSED MOTION FOR
             v.                                EXTENSION OF TIME TO
 14
                                               COMPLETE ADR and RESET
 15    FNBO HOLDINGS, LLC d/b/a                STATUS HEARING
       FIRST NATIONAL BANK OF
 16    OMAHA,                                  Date: December 11, 2023
 17
                          Defendant.           Time: 10:00 am
 18
                                               Ctrm: 8D
 19

 20                                            Judge Christina A. Synder
 21

 22
                           NOTICE OF MOTION
 23       AND MOTION TO EXTEND TIME TO COMPLETE ADR and RESET
 24                        STATUS HEARING
 25      PLEASE TAKE NOTICE that on December 11, 2023 at 10:00 a.m. or as soon
 26
      thereafter, I shall appear before Judge Christina A. Synder in Courtroom 8D of the
 27

 28   United States District Court for Central District of California located at 350 West 1st
                                                 1
Case 2:23-cv-04853-CAS-AFM Document 22 Filed 11/20/23 Page 2 of 4 Page ID #:67



  1   Street, Los Angeles, California 90012, California and present Plaintiff’s Motion
  2
      Extension of Time to Complete Mediation and Reset Status Hearing. This motion is
  3

  4   made following the conference of counsel pursuant to L.R. 7-3 which took place on

  5   November 20, 2023.
  6
            MOTION FOR EXTENSION OF TIME TO COMPLETE ADR AND
  7                      RESET STATUS HEARING
  8
            NOW comes AREC D. SIMERI (“Plaintiff”), by and through the undersigned
  9

 10   counsel, respectfully brings this Motion for Extension of Time to Complete ADR and
 11   Reset Status Hearing, and in support thereof, states as follows:
 12
            1.     On September 18, 2023, this Honorable Court entered an Order in this
 13

 14   case in which the court ordered this case to “Court Mediation Panel for mediation”
 15   and set a deadline of November 24, 2023 for both parties to completed ADR. In
 16
      addition to this, the court set a Status Conference to take place on November 27,
 17

 18   2023 at 11:00 am in front of Judge Snyder. [Dkt. No. 18].
 19
            2.     On October 9, 2023, both parties filed a “Stipulation Regarding
 20
      Selection of Panel Mediator” in which both parties indicated that John F. Libby is
 21

 22   the Panel Mediator for this matter and further indicated that mediation will be held
 23
      during the week of November 13, 2023.[Dkt. No. 20].
 24
            3.     Subsequent to this, there was a mediation scheduled to take place on
 25

 26   November 15, 2023. However, Plaintiff’s counsel never received the calendar invite
 27

 28
                                                 2
Case 2:23-cv-04853-CAS-AFM Document 22 Filed 11/20/23 Page 3 of 4 Page ID #:68



  1   for this mediation and therefore, Plaintiff did not become aware of this until
  2
      November 11, 2023.
  3

  4           4.    As soon as Plaintiff’s counsel’s office realized this, they sent an email

  5   to Defendant’s counsel and Mediator Libby to reschedule the mediation.
  6
              5.    The mediation has now been scheduled to take place on November 28,
  7

  8   2023.
  9           6.    In light of this, the Plaintiff respectfully that the parties deadline to
 10
      complete ADR be extended to November 30, 2023 and for the Status Hearing
 11

 12   scheduled for November 27, 2023 to be reset to another date.
 13           7.    Plaintiff’s counsel apologies to the Court about the delay caused here.
 14
      However, this slight delay should not prejudice the parties in any way nor impact
 15

 16   any other deadlines set this Court.
 17           WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter
 18
      Order extending Plaintiff’s deadline to complete mediation by November 30, 2023,
 19

 20   reset the Status Hearing currently set for November 27, 2023 to another date and for
 21
      any other relief deemed just and appropriate.
 22
      Dated: November 20, 2023                          Respectfully submitted,
 23

 24

 25                                                     /s/ Alexander J. Taylor
                                                        Alexander J. Taylor, Esq.
 26                                                     California Bar No. 332334
                                                        Sulaiman Law Group, Ltd.
 27                                                     2500 South Highland Avenue
                                                        Suite 200
 28                                                     Lombard, Illinois 60148
                                                    3
Case 2:23-cv-04853-CAS-AFM Document 22 Filed 11/20/23 Page 4 of 4 Page ID #:69



  1                                                   (630) 575-8181
                                                      ataylor@sulaimanlaw.com
  2                                                   Counsel for Plaintiff
  3

  4

  5                             CERTIFICATE OF SERVICE

  6          I hereby certify that on November 20, 2023, I electronically filed the foregoing
  7   with the Clerk of the Court for the United States District Court for the Central District
      of California by using the CM/ECF system.
  8

  9                                                   /s/ Alexander J. Taylor
                                                      Alexander J. Taylor, Esq
 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                  4
